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               IN THE UNITED STATES COURT OF FEDERAL CLAIMS

                                                )
BITMANAGEMENT SOFTWARE GMBH,                    )
                                                )       No. 16-840 C
                     Plaintiff,                 )
                                                )       Senior Judge Edward J. Damich
       v.                                       )
                                                )
THE UNITED STATES,                              )
                                                )
                     Defendant.                 )


    THIRD-PARTY UNOPPOSED MOTION FOR ORDER ALLOWING DAVID
        COLLEEN TO TESTIFY AT TRIAL BY VIDEOCONFERENCE

       Pursuant to Rule 43 of the Rules of the Court of Federal Claims (“RCFC”), Third-

Party David Colleen moves for an order allowing him to testify at trial by videoconference.

Trial is currently scheduled in Washington, D.C. from April 22-30. Mr. Colleen respectfully

submits that requiring him to travel to Washington, D.C. would impose a significant hardship

on him.

       Undersigned counsel discussed the possibility of Mr. Colleen’s testimony by

videoconference with both Defendant’s counsel and Plaintiff’s counsel. Counsel for both

Parties do not oppose this motion.

       RCFC 43(a) allows the Court to “permit testimony in open court by contemporaneous

transmission from a different location” upon a showing of “good cause in compelling

circumstances and with appropriate safeguards.” RCFC 43(a). Mr. Colleen resides and

works in Bonny Doon, California, more than 2,500 miles from Washington, D.C. In addition

to his full-time employment in Bonny Doon, Mr. Colleen has significant family

responsibilities as the primary caregiver for his wife who suffers from health issues.
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Requiring Mr. Colleen to travel to Washington, D.C. would constitute a significant hardship

to his family responsibilities.

       To minimize this burden, Mr. Colleen requests that the Court issue an order directing

him to testify by videoconference from undersigned counsel’s office in San Francisco,

California. Undersigned counsel has confirmed that the videoconferencing system has been

used for other adjudicatory matters. Additionally, undersigned counsel’s Information

Technology specialist has already reached out to the Court’s staff to schedule a test of the

videoconferencing system.

       The Government estimates that the time needed for Mr. Colleen’s direct testimony is

three to four hours.

       Accordingly, Mr. Colleen respectfully submits that good cause exists to allow him to

testify at trial by videoconference.

       A proposed Order is attached hereto as Exhibit 1.


Dated: April 11, 2019                       Respectfully submitted,

                                            ROGERS JOSEPH O’DONNELL, PC

                                            s/ Robert S. Metzger
                                            Robert S. Metzger
                                            Lisa N. Himes
                                            ROGERS JOSEPH O’DONNELL, PC
                                            875 15th Street, NW, Suite 725
                                            Washington, DC 20005
                                            Tel: (202) 777-8950
                                            Fax: (202) 347-8429
                                            rmetzger@rjo.com
                                            lhimes@rjo.com

                                            Attorneys for Third-Party David Colleen
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